           Case 2:04-cr-00305-JAM Document 99 Filed 03/27/06 Page 1 of 3


 1   Shari Rusk
     Attorney at Law
 2   Bar # 170313
     1710 Broadway
 3   Suite 111
     Sacramento, CA 95818
 4

 5                   UNITED STATES DISTRICT COURT FOR THE
 6                      EASTERN DISTRICT OF CALIFORNIA
 7

 8   United States of America,          ) Case No.: Cr. S. 04-305 DFL
                                        )
 9              Plaintiff,              )
                                        ) REQUEST TO PHONE MEXICO AND
10        vs.                           ) ATTACHED ORDER
                                        )
11   MARTIN ISIAS, et. al.,             )
                                        )
12              Defendants.             )
                                        )
13

14

15        Martin Isias hereby requests that he be able to phone his
16   family in Mexico from the Sacramento County Jail at his own
17   expense.   Mr. Isias has an eighteen month old baby girl named
18   Mariam Isias.   She has experienced some health problems while he
19   has been incarcerated. He has been incarcerated since August 2,
20   2004 and has only been permitted two phone calls to his family.
21   The jail will allow Mr. Isias to phone his home in Mexico with
22   an international calling card, if the Court so orders.
23        Martin Isias, CX No. 4054929 located at 4 East, Pod 107A,
24   hereby requests this Court order the Sacramento County jail to
25   grant him access to a telephone on which he can place a calls to
26   the home of his wife in Zulema Loya in Tijuana, Mexico, at 011-
27   52-664-127-9032 and that he be allowed to speak with his family
28   members there for as long as the Sheriff will allow.         This



                                        - 1
             Case 2:04-cr-00305-JAM Document 99 Filed 03/27/06 Page 2 of 3


 1   request is contingent upon the defendant’s use of an
 2   international calling card, any time he places a call, so that
 3   no costs are incurred by the Sacramento County Jail.                    The
 4   government has no objection to this request.
 5

 6   Dated: March 14, 2006        Respectfully submitted,
 7

 8                                     _/s/Shari Rusk______________
                                       Shari Rusk
 9                                     Attorney for Defendant
                                       MARTIN ISIAS
10

11
                            ORDER
12

13
          Good cause appearing, IT IS HEREBY ORDERED that the Sheriff
14
     of Sacramento County, or its agent or employee, consistent with
15
     security procedures, allow defendant MARTIN ISIAS to place
16
     phone callS to his family in Mexico with an international
17
     telephone calling card so that there will be no long distance
18
     costs to the County of Sacramento.
19

20

21
     DATE:   3/23/2006
22
                                        ______________________________
23                                      DAVID F. LEVI
                                        Chief United States District Judge
24

25

26

27

28




                                          - 2
     Case 2:04-cr-00305-JAM Document 99 Filed 03/27/06 Page 3 of 3


 1                              _
 2

 3

 4

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28




                                    - 3
